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UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA
NATIONAL TREASURY

EMPLOYEES UNION, et al. )
Plaintiff(s) )
)

vs. RUSSELL VOUGHT, in his capacity as Acting) Case Number: 25-0381-ABJ
Director of the Consumer Financial Protection )
Bureau, et al. )

Defendant(s)

DECLARATION FOR PRO HAC VICE ADMISSION
(to be attached to Motion for Pro Hac Vice Admission)

In accordance with LCvR 83.2 (c)(2) and LCvR 44.1 (c)(2), I hereby declare that

the answers to the following questions are complete, true, and correct:

1,
2.
3.

Full Name: Erik Thomas Goodman

State bar membership number: 1005632 (DC), 662033 (MA), 80107 (OH)
Business address, telephone and fax numbers:
4340 Connecticut Ave., NW, Ste. 319, Wash., DC 20008; 202.643.6877; 202.335.7533

List all state and federal courts or bar associations in which you are a member “in good standing”
to practice law:

Washington, DC (active); Massachusetts (inactive); Ohio (inactive)

Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
good standing” status, or otherwise disciplined by any court, bar association, grievance committee

or administrative body? Yes [| No
Have any proceedings which could lead to any such disciplinary action been instituted against you

in any such bodies? Yes [| No

(Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

List the number of times the attorney has been admitted pro hac vice into this court within the last
two years. zero

(If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

Are you a member of the DC Bar? Yes

Do you have a pending application for admission into USDC for the District of Columbia? No
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In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing or trial on the merits further certifies that he/she:

(CHECK ALL ITEMS THAT APPLY)

ale has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

io! | has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR
44,1(b)(2)]; OR

3 has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
L by the District of Columbia Bar or accredited by a State Bar. [LCvR 83,2(b)(3)/LCrR 44.1(b)(3)]

I declare under penalty of perjury that the foregoing is true and correct.
2/28/25 Ce

DATE SIGNATURE OF ATTORNEY
